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                                 UNITED STATES DISTRICT COURT
                                       Northern District of Illinois
                                       219 South Dearborn Street
                                         Chicago, Illinois 60604

Thomas G. Bruton                                                                    312-435-5670
Clerk



Date: 12/04/2018                                         Case Number: 1:10-cv-04603

Case Title: Lippert et al. v. Ghosh et al                Judge: Honorable Jorge L. Alonso


              DOCUMENT REMOVED DUE TO REASON(S) CHECKED BELOW

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